





















Opinion issued June 3, 2010.



In The

Court of
Appeals

For The

First District
of Texas

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NO. 01-10-00404-CV

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&nbsp;

In re Christus Health and Christus Health Gulf Coast, Relators



&nbsp;



&nbsp;



Original Proceeding on Petition for Writ of Mandamus 

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MEMORANDUM OPINION

By petition for writ of mandamus, relators, Christus
Health and Christus Health Gulf Coast, seek relief compelling the trial court
to vacate its discovery orders of May 10, 2010 and May 11, 2010.1

We deny the petition for writ
of mandamus.&nbsp; All outstanding motions are
overruled as moot.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

PER CURIAM

&nbsp;

Panel
consists of Justices Hanks, Keyes, and Massengale.

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1&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The underlying case is Linda G. Carswell, Individually
and as Representative of the Estate of Jerry L. Carswell, Deceased, Robert J.
Carswell, and Jordan D. Carswell v. Christus Health and Christus Health Gulf
Coast d/b/a Christus St. Joseph Hospital, Christina K. Pramudji, M.D., Paul C.
Cook, M.D., Memorial Urology Associates, P.A., Jeffrey Terrel, M.D., Roupen H.
Kekmezian, M.D., and SJ Associated Pathology, L.C., No. 2005-36179, in the
165th Judicial District Court of Harris County, Texas, the Hon. Josephina M.
Rendon, presiding.

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